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               IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:11CR259
                              )
          v.                  )
                              )
CARNELL NEAL,                 )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to restrict (Filing No. 78).       The Court finds the motion should

be granted.   Accordingly,

          IT IS ORDERED that the motion is granted; the amended

sentencing exhibit list and Exhibit #7 shall remain sealed

pending further order of the Court.

          DATED this 2nd day of May, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
